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                    IN THE UNITED STATES DISTRICT COURT
                        SOURTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

NATIONAL TRANSPORTATION                            §
INSURANCE COMPANY RRG, LLC                         §
                                                   §
VS.                                                §      CIVIL ACTION NO. ______
                                                   §
                                                   §      JURY
                                                   §
MILTON MOTORS, INC.                                §


                   Plaintiff’s Petition for Declaratory Judgment

TO THE HONORABLE JUDGE OF SAID COURT

       Plaintiff, NATIONAL TRANSPORTATION INSURANCE COMPANY RRG,

LLC, files this petition seeking a declaration from this court that it has no liability or duty

to defend Milton Motors, Inc. in Cause No. 2020-79183, a suit filed in the 333rd Judicial

District Court, Harris County, Texas. In support of National Transportation’s Petition, it

would show:

                                            Parties

   1. National Transportation Insurance Company RRG, LLC is a limited liability

company. The company is organized in Montana, and has its principal place of business

in Billings, Montana.

   2. Defendant Milton Motors, Inc., is a Texas Corporation. A copy of this petition will

be forwarded to Roger D. Oppenheim, attorney of record for Defendant Milton Motors,

Inc, in the state court action. However, this business will be formally served through its

registered agent for service of process, Esther Daniel, located at 6120 N. Shepherd Dr.,

Houston, Texas 77091.



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                                  Related Litigation



  3. Pursuant to Local Rule 5.2, National Transportation would hereby advise the Court

that Milton Motors is currently engaged in litigation with Gilberto Salceda Rodriguez,

Blanca Guerro-Gonzalez and Bairon A. Soliz. Cause No. 2020-79183 is pending in the

333rd Judicial District Court, Harris County, Texas, and is styled: Gilberto Salceda

Rodriguez and Blanca Guerro-Gonzalez v. Milton Motors, Inc. and Bairon Soliz.

                                Jurisdiction and Venue

  4. This Court has diversity jurisdiction over the subject matter of this Declaratory

Judgment Action pursuant to 28 U.S.C. §2201 and 28 U.S.C. §1332(a) because the matter

in controversy exceeds $75,000, exclusive of costs, and is between citizens of different

states. Venue is proper in this Court pursuant to Title 28, United States Code §1391.

                     Background Facts: motor vehicle accident

  5. On June 15, 2020, Bairon A. Soliz was involved in a motor vehicle accident with

Gilberto Salceda Rodriguez and Blanca Guerro-Gonzalez on the 1001 block of Gulf Bank

Rd., in Harris County, Texas. Mr. Soliz was driving a 2016 Hino 238/258 tow truck in

the course and scope of his employment with Defendant Milton Motors at the time of the

accident. Nobody else was in the vehicle with Mr. Soliz when the accident occurred.

Milton Motors owned the 2016 Hino tow truck driven by Mr. Soliz.

                     Employee Joins Lawsuit Against Employer

  6. On January 28, 2021, Gilberto Salceda Rodriguez and Blanca Guerro-Gonzalez

brought a lawsuit for injuries they allegedly sustained in the June 15, 2020, accident with

Milton Motors’ employee Bairon Soliz. Milton Motors filed an original answer to the

petition on March 8, 2021. Mr. Solis, through separate counsel, filed an answer to these

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    claims on April 1, 2021. On the same day, Mr. Soliz also brought a cross-action

    against Milton Motors.1 Mr. Soliz specifically raised both negligence and gross

    negligence claims against Milton Motors. Pl.’s Orig. Pet. in Intervention, p. 4-6. The

    Petition in Intervention basically alleges that Milton Motors “failed to properly upkeep,

    properly maintain and properly repair” the tow truck in question. Pl.’s Orig. Pet. in

    Intervention, p. 2.

      7. Milton Motors filed an answer to their employee’s suit on April 2, 2021.

                                       Suit for Declaratory Relief

      8. National Transportation brings this suit to adjudicate the rights between it and

    Milton Motors under the commercial auto policy in question. National Transportation

    intends on showing that Mr. Soliz’ claims against his employer for injuries he allegedly

    sustained in the June 2020 accident are not covered under the applicable policy.

    Basically, the policy in question provided exclusions for potential workers’ compensation

    claims and bodily injuries to employees arising out of the course and scope of the

    employee’s employment. That is precisely the type of suit Mr. Soliz is alleging against

    Defendant Milton Motors.

      9. At the time of the accident, Defendant Milton Motors was covered under a Texas

    commercial automobile insurance policy (Certificate Number MDX-20-163276-00).

    National Transportation Insurance Company issued the policy.           The Certificate of

    Coverage is attached hereto as Exhibit “1.” The Certificate of Coverage reflects that the

    policy was in effect on the date of the subject incident (June 15, 2020).




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    Mr. Soliz also counterclaimed against Gilberto Salceda Rodriguez.

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  10. Among other provisions, the policy requires the Plaintiff to provide a defense to

the insured against any suits brought by third parties for motor vehicle damages

allegedly incurred in an accident in which the Defendant was operating a covered

commercial motor vehicle. In bringing this Petition for Declaratory Judgment, National

Transportation is not challenging the Milton Motor’s entitled to a defense against the

claims brought by Gilberto Salceda Rodriguez and Blanca Guerro-Gonzalez. However,

National Transportation is challenging Milton Motor’s request for indemnity and

defense of a claim that is not covered under the policy.

  11. As an employee, any bodily injuries suffered by Mr. Soliz are not covered under the

commercial auto policy. The exclusions notable to this policy are:

             (3) Workers’ Compensation

             Any obligation for which the “insured” or the “insured’s” insurer may be
             held liable under and workers’ compensation, disability benefits or
             unemployment compensation law or any similar law.

                                            And

             (4) Employee Indemnification and Employer’s Liability

             “Bodily injury” to
             a. An “employee” of the “insured” arising out of and in the course of:
                (1) Employment by the “insured”; or
                (2) Performing the duties related to the conduct of the “insured’s”
                    business; or
             b. The spouse, child, parent, brother or sister of that “employee” as a
                consequence of Paragraph a. above.
  12. Based on the employee exclusion, Plaintiff now asks this Court to establish the

rights, statuses, or legal relationships between the parties. Specifically, Plaintiff seeks to

have this Court find that National Transportation does not have a duty to

indemnify or defend Defendant Milton Motors in the suit brought by Mr. Soliz. The

claims asserted on Mr. Soliz’s behalf only allege facts excluded by the Employee

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Indemnification and Employer’s Liability provision (and potentially the Workers’

Compensation exclusion). There is an actual controversy between National

Transportation and Milton Motors insofar as National Transportation is incurring costs

defending a non-covered claim. The controversy between Milton Motors and National

Transportation is not financially insignificant. To the contrary, and given the conflict of

interest between the parties, National Transportation is having to hire multiple counsel

to defend Mr. Soliz and Milton Motors, and National Transportation is being asked to

incur the cost of defending Milton Motors in what amounts to an non-covered workers’

compensation claim.

  13. Finally, the state court action between the parties will not resolve the controversy

made the basis of this petition. A declaratory judgment in National Transportation’s

favor is appropriate in this case since the policy in effect does not provide coverage for

Mr. Soliz’ claims against Defendant Milton Motors. A judicial determination that

National Transportation owes Milton Motors neither a duty to indemnify nor a duty to

defend Mr. Soliz’ claims will bring clarity not only to the parties involved in this action,

but also the action pending in Cause No. 2020-79183.

                                           Prayer

  14. For these reasons, Plaintiff asks that the Court:

         a. Determine and adjudicate the coverage dispute surrounding the underlying

             policy;

         b. Order a speedy hearing of this action pursuant to Rule 57;

         c. Declare that Plaintiff National Transportation does not have a duty to

             defend or indemnify Defendant Milton Motors, Inc., in Cause No. 2020-

             79183 (Gilberto Salceda Rodriguez and Blanca Guerro-Gonzalez v. Milton

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      Motors, Inc. and Bairon Soliz), a suit filed in the 333rd Judicial District

      Court, Harris County, Texas.; and

   d. Award National Transportation its court costs, and all other relief to which

      Plaintiff may be justly entitled.



                                   Respectfully submitted,

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                                   By:__ /s/ Guillermo Tijerina, Jr. /s/_______
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